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                           UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
                           Case No. 17-cv-60426-UNGARO/O’SULLIVAN

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  and WEBZILLA, INC.
       Plaintiffs,

  vs.

  BUZZFEED, INC. and BEN SMITH,
        Defendants.
  ______________________________________/

                                                ORDER

          THIS CAUSE is before the Court following an informal discovery hearing on September

  5, 2018. Paragraph 16 of the Protective Order states, in part, that “[t]he person subject to the

  subpoena, request or order of any court, arbitrator, attorney, government agency or like entity

  shall not produce or disclose the requested information without consent of the source of the

  information or until ordered by a court of competent jurisdiction to do so . . . .“ Protective Order

  (DE# 96 at 8, 12/7/17). Having heard from the parties and non-parties and for the reasons

  stated on the record at the September 5, 2018 hearing, it is

          ORDERED AND ADJUDGED that at this time, the Court will not issue an Order

  requiring the production of the depositions of Mr. Steele and Mr. Kramer. The United States

  Senate Committee on the Judiciary and the House of Representatives Permanent Select

  Committee on Intelligence may properly proceed or intervene in this case and advise the Court

  why it would be appropriate to require the production of these depositions to the Committees.

          DONE AND ORDERED in Chambers, in Miami, Florida on this 5th day of September,

  2018.



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                                                JOHN J. O’SULLIVAN
                                                UNITED STATES MAGISTRATE JUDGE
  Copies provided to:
  United States District Judge Ungaro
  All Counsel of Record
